UNITED STATES DISTRICT COURT                                                    USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                                   DOCUMENT
                                                                                ELECTRONICALLY FILED
 WILLIE E. DENNIS,                                                              DOC #:
                                                                                DATE FILED: 3/24/2021
                                 Plaintiff,

                     -against-
                                                                    20-CV-9393 (MKV)
 K & L GATES LLP; DAVID TANG; JAMES
 SEGERDAHL; JEFFREY MALETTA;                                              ORDER
 MICHAEL CACCESE; ANNETTE
 BECKER; PALLAVI WAHI; JOHN BICKS;
 AND CHARLES TEA,

                                 Defendants.

MARY KAY VYSKOCIL, United States District Judge:

        The Court has received a motion to stay this proceeding pending disposition of a motion

to compel arbitration filed in the Superior Court of the District of Columbia. See Motion to Stay,

ECF No. 5. After several extensions, the Court ordered Plaintiff to respond to the motion by

March 22, 2021. See Order, ECF No. 32. Plaintiff did not file any opposition on that date, but

did file an Amended Complaint. See Amended Complaint, ECF No. 34. The Amended

Complaint alleges substantially the same causes of action as Plaintiff’s original complaint.

        While the motion was pending, Defendants filed a letter informing the Court that the

motion to compel arbitration in the District of Columbia was granted. See Letter to Court, ECF

No. 33. In light of that, Defendants now request a stay of the case to permit the arbitration to

proceed. Id. at 1; see also Katz v. Cellco P’ship, 794 F.3d 341, 347 (2d Cir. 2015) (“[T]he text,

structure, and underlying policy of the FAA mandate a stay of proceedings when all of the claims

in an action have been referred to arbitration and a stay requested.”).

        The Motion is GRANTED. This case is stayed pending the outcome of the arbitration.

The Parties are directed to file a joint status report regarding the status of the Parties’ arbitration
on June 18, 2021, and every 90 days thereafter, until the arbitration is resolved. Upon resolution

of the arbitration, the Parties should submit a joint letter to the Court within five days of the

resolution.

         The Clerk of Court respectfully is requested to stay this case and close the motion at ECF

No. 5.

SO ORDERED.

 Dated:       March 24, 2021
              New York, New York

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